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                                                       April 16, 2025

 Via ECF

 Hon. Vera M. Scanlon, U.S.M.J.
 United States District Court
   Eastern District of New York

                Re:     Singh v. Topline NYC Contracting Inc., et al.
                        Case no. 1:25-CV-00776

 Dear Magistrate Judge Scanlon:

        The following is defendants’ opposition to plaintiff’s motion for leave (Doc. 21) to
 submit a reply in support of his motion for sanctions (Doc. 18).

         Your Honor’s rule about letter motions, III(b) could not be clearer: No replies permitted.
 Thus, it is borderline sanctionable conduct for plaintiff to now attempt to circumvent the rule.
 Significantly, none of the cases cited by plaintiff involve a party seeking to submit a reply letter
 where a judge’s individual rules forbid it. Were this Court to grant plaintiff’s motion, there
 would be precedent for a party to submit a reply and every letter motion would generate two
 motions: the motion itself and another motion to permit a reply.

         Notably, plaintiff cites no authority for why his motion should be granted, because there
 is none. See, second to last paragraph of letter. (Doc. 21).

        If I had my druthers, I would have preferred to submit a reply to my first motion (Doc.
 16). Of course, I did not think to do so as I read your Honor’s rule and abided by it.

        In light of the above, this Court should not consider plaintiff’s reply (Doc. 18) and should
 deny plaintiff’s motion for leave to submit a reply. (Doc. 21).

                                                       Respectively submitted,

                                                       Lila Ayers
                                                       Lila Ayers



 cc: Emmanuel Kataev, Esq.
